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    8                       UNITED STATES DISTRICT COURT
    9                      CENTRAL DISTRICT OF CALIFORNIA
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   11   ALEX ROSAS and JONATHAN                 CASE NO. CV 12-00428 DDP
        GOODWIN on behalf of themselves
   12   and of those similarly situated,        ORDER APPROVING CLASS
                                                SETTLEMENT, RETAINING
   13                 Plaintiffs,               JURISDICTION TO ENFORCE
                                                TERMS OF SETTLEMENT
   14         vs.                               AGREEMENT, DISMISSING
                                                ACTION
   15   Jim McDonnell, Sheriff of Los Angeles
        County, in his official capacity,
   16                                           (DOCKET NUMBER 130)
                      Defendant.
   17
                                                Honorable Dean D. Pregerson
   18                                           Ctrm: 3
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    1          This matter came before the Court on Plaintiffs’ unopposed Motion for Final
    2    Approval of the Settlement Agreement, which was entered into between Plaintiff
    3    Alex Rosas on behalf of himself and the Plaintiff Class and Defendant
    4    (collectively, the “Parties”).
    5          The Court certified a class defined as “all present and future inmates
    6    confined in the Jail Complex in downtown Los Angeles” (the “Plaintiff Class”)
    7    under Rule 23(b)(2) of the Federal Rules of Civil Procedure by order dated June 7,
    8    2012. This Court entered an order preliminarily approving the proposed settlement
    9    (the “Settlement Agreement”) on January 23, 2015 in which it approved the form
   10    and provision of notice of the Settlement Agreement to the Plaintiff Class,
   11    established the procedure and deadlines for members of the Plaintiff Class to
   12    object to the Settlement Agreement, and set forth other deadlines relating to the
   13    hearing for final approval of the Settlement Agreement (the “Fairness Hearing”).
   14          Having received and considered the one written objection submitted by a
   15    member of the Plaintiff Class related to the Settlement Agreement, having held a
   16    Fairness Hearing on April 20, 2015, having reviewed the filings, documents, orders
   17    and/or admissible evidence which are currently filed of record with the Court, and
   18    having considered the arguments of counsel for the Parties, the Court hereby
   19    ORDERS as follows:
   20          1.     NOTICE PURSUANT TO RULE 23(e)(1). Reasonable notice of the
   21   Settlement Agreement was provided to members of the Plaintiff Class in the
   22   manner directed by the Court by separate Order dated January 23, 2015. Members
   23   of the Plaintiff Class were then afforded an opportunity to submit comments and
   24   objections to the Court concerning the Settlement Agreement. The Court held a
   25   Fairness Hearing pursuant to Rule 23(e)(2) of the Federal Rules of Civil Procedure
   26   on April 20, 2015, at which it heard arguments by counsel for the Parties and a
   27   statement in support of the Settlement Agreement by a former inmate at Men’s
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    1   Central Jail.
    2         2.        RULE 23(e)(2) FINDINGS. The Court makes the following findings
    3   pursuant to Rule 23(e)(2) of the Federal Rules of Civil Procedure:
    4         a) The Parties engaged in substantial motion practice before initiating
    5              settlement negotiations.
    6         b) The Settlement Agreement is the product of a lengthy, hard-fought and
    7              non-collusive negotiation process that began more than two years ago
    8              between counsel for the Plaintiff Class (“Class Counsel”) and for the
    9              Defendant.
   10         c) Class Counsel reviewed more than 100,000 pages of documents produced
   11              by Defendant and conferred repeatedly with their experts about those
   12              documents before settlement was reached.
   13         d) Any trial of this matter would have been lengthy, expensive, and involved
   14              testimony from numerous fact witnesses and experts.
   15         e) The Settlement Agreement sets forth a comprehensive approach to
   16              addressing the allegations of a pattern of excessive force set forth in
   17              Plaintiffs’ First Amended Complaint.
   18         Accordingly, the Court finds that the Settlement Agreement is fair,
   19   reasonable, and adequate.
   20         3.        COURT’S ADOPTION OF THE TERMS OF THE
   21   SETTLEMENT AGREEMENT. The Court hereby adopts and incorporates by
   22   reference the terms of the Settlement Agreement entered into between the Parties,
   23   including the Implementation Plan developed by Richard Drooyan, Jeffrey
   24   Schwartz, and Robert Houston (“the Expert Panel”) attached thereto. A copy of the
   25   Settlement Agreement, with the Implementation Plan, is attached hereto as
   26   Exhibit A.
   27         4.        APPOINTMENT OF AN EXPERT PANEL TO DEVELOP AND
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    1   EVALUATE COMPLIANCE WITH THE IMPLEMENTATION PLAN.
    2   Pursuant to the Settlement Agreement, the Court previously appointed the Expert
    3   Panel, pursuant to Rule 706 of the Federal Rules of Evidence, to develop an
    4   Implementation Plan designed to ensure that members of the Plaintiff Class are not
    5   subjected to excessive force in Men’s Central Jail, Twin Towers Correctional
    6   Facility, and the Inmate Reception Center (collectively, “the Jail Complex in
    7   downtown Los Angeles”). The Court hereby appoints the Expert Panel to monitor
    8   and advise the Court on Defendant’s compliance with the Implementation Plan.
    9          5.      DEFENDANT’S COMPLIANCE WITH THE
   10   IMPLEMENTATION PLAN AND OTHER RECOMMENDATIONS OF
   11   THE EXPERT PANEL. Defendant must comply with and implement the
   12   Implementation Plan, as modified by the Court, as soon as reasonably practicable.
   13          6.      CLASS COUNSEL’S FEES AND EXPENSES. The $950,000
   14   Defendant agreed to pay to resolve Class Counsel’s attorneys’ fees and costs is well
   15   below Class Counsel’s lodestar and is reasonable in light of the time spent on the
   16   matter, the complexity of the matter, and the skill and expertise Class Counsel
   17   demonstrated in representing the Plaintiff Class.
   18                    a.    Defendant shall tender to Class Counsel a warrant in the amount
   19   of $950,000 made payable to “ACLU Foundation of Southern California” within
   20   45 days, which shall constitute payment for any and all attorneys’ fees and
   21   expenses incurred, charged and/or otherwise generated by Class Counsel from the
   22   inception of the litigation through the date of entry of this Order.1 Class Counsel
   23   shall provide to Defendant any and all paperwork and information including,
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   25   1
          In evaluating the reasonableness of the amount agreed to by the Parties, the Court has reviewed
        the declarations of John Durrant, Peter Eliasberg, Christian Lebano, Esther Lim, and Margaret
   26   Winter filed in support of Plaintiffs’ Motion for Final Approval of Settlement explaining Class
        Counsel’s fees, costs, and billing methodology, and has considered a number of factors including
   27   (1) the time and labor required, (2) the novelty and difficulty of the questions involved, (3) the
        skill requisite to perform the legal service properly, (4) the results obtained, (5) the experience,
   28   reputation, and ability of the attorneys, and (6) the ‘undesirability’ of the case.
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    1   without limitation, a duly executed W-9 IRS form, prior to receiving said payment.
    2                  b.   Defendant will pay reasonable attorneys’ fees and costs to Class
    3   Counsel for ongoing work to ensure compliance with the Settlement Agreement.
    4   The amount of fees and costs due to Class Counsel under this paragraph will be
    5   determined on a semi-annual basis for the duration of the Court’s jurisdiction over
    6   the Settlement Agreement. The Parties will try to reach agreement on these semi-
    7   annual fee awards and submit a stipulation for the Court’s approval. If the Parties
    8   are unable to reach agreement on a semi-annual fee award, Class Counsel will
    9   submit a motion for reasonable attorneys’ fees, and the Court will determine the
   10   appropriate amount of fees. Under no circumstances shall Class Counsel be entitled
   11   to payment of more than $30,000 per year in attorneys’ fees and costs to ensure
   12   compliance with the Settlement Agreement, exclusive of any fees and costs
   13   reasonably incurred to oppose any motion to modify or terminate the Settlement
   14   Agreement by Defendant pursuant to Paragraph XII(2) of the Settlement
   15   Agreement.
   16         7.     DISMISSAL OF THE CIVIL ACTION. Upon the entry of this
   17   Order, the Clerk for the United States District Court for the Central District of
   18   California is hereby directed to administratively close this case and enter a
   19   dismissal of the Civil Action with prejudice.
   20         8.     COURT’S RETENTION OF JURISDICTION TO ENFORCE
   21   THE ORDER. Notwithstanding the provision in Paragraph 7 above, the Court
   22   shall retain jurisdiction for purposes of enforcing the provisions of the Settlement
   23   Agreement or modifying it in accordance with Section XIV(6) of that agreement.
   24         9.     NO APPEAL. All Parties have waived all rights to seek any appeal
   25   from and/or appellate review of this Order.
   26         10.    FINDINGS PURSUANT TO 18 U.S.C. § 3626(a)(1)(A). The Court
   27   specifically finds that, although this matter was not actually litigated or resolved on
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    1   the merits, the relief in this Order is narrowly drawn, extends no further than
    2   necessary to correct the alleged violations of the Federal rights, and is the least
    3   intrusive means necessary to correct the alleged violations of the Federal rights.
    4         Nothing contained in this Order or the Settlement Agreement shall be
    5   construed as an admission of any kind by the County of Los Angeles, any
    6   Defendant and/or any agent, employee, officer and/or representative of the Los
    7   Angeles County Sheriff’s Department. This Order shall not be admissible in any
    8   court, except to enforce the Settlement Agreement.
    9         The Clerk of the Court is DIRECTED to enter this document on the civil
   10   docket as a Final Judgment pursuant to Rule 58 of the Federal Rules of Civil
   11   Procedure.
   12         This case is closed.
   13         IT IS SO ORDERED.
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   15   Dated: April 21, 2015             By:
   16                                             UNITED STATES DISTRICT JUDGE
                                                    HON. DEAN D. PREGERSON
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   19   Submitted by:
        Peter Eliasberg
   20   Attorney for Plaintiff Class
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